AQ 2458 (WDNC Rev. 02/11) Judgmentin a Criminal Case

Defendant: Kenneth Herman Bennett Judgment- Page 2 of 6
Case Number: DNCW513CR00004 1-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of

ONE HUNDRED EIGHTY-EIGHT (188) MONTHS.

The Court makes the following recommendations to the Bureau of Prisons:
- Participation in any available substance abuse treatment program and if eligible, receive benefits of
18:3621(e)(2).
- Participation in any available educational and vocational opportunities particularly the GED Program.
- Placed ina facility as close to Jefferson, NC, as possible, consistent with the needs of BOP.
- That defendant be allowed to participate in any available mental health treatment program while incarcerated.
- That defendant's depression and physical ailments noted in the Presentence Report be addressed.

& The Defendant is remanded to the custody of the United States Marshal.

CL] The Defendant shall surrender to the United States Marshal for this District:

CJ As notified by the United States Marshal.
GO) At_on._.

( The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

C As notified by the United States Marshal.
Cl Before 2 p.m. on...
LC As notified by the Probation Office.

 

RETURN _ PHLED
CHARLOTTE, RE

| have executed this Judgment as follows: APR i oof

 

   

WESTERN DISTRICT OF me

 

 

 

Defendant delivered on 3/asHs to Ed b FCI Edoplieid at
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pew Elgefieid 2. , with a certified copy of this Judgment.

™ By: arr ry\oup Ce)

Depuly- Marshal f

Case 5:13-cr-00041-RLV-DCK Document 35 Filed 02/04/15 Page 2 of 6
Case 5:13-cr-00041-RLV-DCK Document 38 Filed 04/01/15 Page 1of1

 
